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                                                                                         UNITED STATES DISTRICT COURT
                                                                                         EASTERN DISTRICT OF MICHIGAN

                                                          LELAND FOSTER,

                                                                            Plaintiff,                      CASE NO. 2:18-CV-10545-SFC-RSW

                                                          v                                                 HON. SEAN F. COX

                                                          CROSSROADS SHOPPING CENTER                     STIPULATION GRANTING DEFENDANT,
                                                          INVESTMENTS, LLC, a Delaware Limited Liability FAMILY FARM & HOME, INC.’S
                                                          Company,                                       MOTION TO COMPEL
                                                                                                         DEFENDANT/CROSS-DEFENDANT,
                                                                     Defendant/Cross-Defendant,          CROSSROADS SHOPPING CENTER
                                                                                                         INVESTMENTS, LLC’S ANSWERS TO
                                                          and                                            OUTSTANDING INTERROGATORIES
                                                                                                         AND TO PRODUCE DOCUMENTS
                                                          BIG LOTS STORES, INC., an Ohio Corporation for
                                                          Profit,

                                                                            Defendant,

                                                          and

                                                          FAMILY FARM & HOME, INC., a Michigan
                                                          Corporation

                                                                            Defendant/Cross-Claimant,
SMITH HAUGHEY RICE & ROEGGE, A Professional Corporation




                                                          Owen B. Dunn, Jr. (P66315)                        Kevin B. Even (P38599)
                                                          Valerie J. Fatica (0083812)                       SMITH HAUGHEY RICE & ROEGGE
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                                                              STIPULATION GRANTING DEFENDANT, FAMILY FARM & HOME, INC.’S
                                                               MOTION TO COMPEL DEFENDANT/CROSS-DEFENDANT, CROSSROADS
                                                              SHOPPING CENTER INVESTMENTS, LLC’S ANSWERS TO OUTSTANDING
                                                                     INTERROGATORIES AND TO PRODUCE DOCUMENTS

                                                                 NOW        COME     Defendant/Cross-Claimant,     Family Farm        &   Home,    Inc.,   and

                                                          Defendant/Cross-Defendant, Crossroads Shopping Center Investments, LLC, by and through

                                                          their respective attorneys, and hereby stipulate to the entry of an order GRANTING

                                                          Defendant/Cross-Claimant, Family Farm & Home, Inc.’s motion to compel discovery pursuant

                                                          to Fed R Civ P 37(a), and agree as follows:

                                                                 1.         On or about September 17, 2018, Defendant, Family Farm & Home, Inc., served
SMITH HAUGHEY RICE & ROEGGE, A Professional Corporation




                                                          on Defendant/Cross-Defendant, Crossroads Shopping Center Investments, LLC its First Set of

                                                          Interrogatories in writing pursuant to Fed. R. Civ. P. 33.

                                                                 2.         On or about September 17, 2018, Defendant, Family Farm & Home, Inc., served

                                                          on Defendant/Cross-Defendant, Crossroads Shopping Center Investments, LLC its First Request

                                                          for Production of Documents in writing pursuant to Fed. R. Civ. P. 34.

                                                                 3.         To date Defendant/Cross-Defendant, Crossroads Shopping Center Investments,

                                                          LLC has failed to timely answer or respond to the aforementioned discovery requests.

                                                                 4.         The Parties agree that Defendant/Cross-Defendant, Crossroads Shopping Center

                                                          Investments, LLC shall submit full and complete answers and responses to the aforementioned

                                                          discovery requests within fifteen (15) days of the entry of this order.
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                                                          Dated: December 4, 2018            /s/ Kevin B. Even
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                                                          Dated: December 4, 2018            /s/ John W. Henke, III
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